              Case 22-1108, Document 133, 06/08/2023, 3527007, Page1 of 2
                                              U.S. Department of Justice
[Type text]
                                                      United States Attorney
                                                      Southern District of New York
                                                      86 Chambers Street
                                                      New York, New York 10007


                                                      June 8, 2023

By ECF

Catherine O’Hagan Wolfe
Clerk of the Court
United States Court of Appeals for the Second Circuit
Thurgood Marshall United States Courthouse
40 Foley Square
New York, New York 10007

       Re:     Zherka v. Garland, No. 22-1108 (oral argument held May 8, 2023)

Dear Ms. Wolfe:

       Defendant-appellee respectfully writes in response to plaintiff-appellant’s letter regarding
the Third Circuit’s decision in Range v. Attorney General, No. 21-2835 (June 6, 2023), and to
inform the Court of the Eighth Circuit’s decision in United States v. Jackson, No. 22-2870 (June
2, 2023), both of which involved as-applied Second Amendment challenges to 18 U.S.C.
§ 922(g)(1). Range held that § 922(g)(1) is unconstitutional as applied to an individual whose
disqualifying offense was a 1995 conviction for a state-law fraud misdemeanor for which he served
no prison time. For the reasons discussed in the government’s brief and by the dissenting judges
in Range, the Third Circuit’s conclusion is incorrect.

        Range departs from controlling decisions in several other circuits, including this Court’s
precedent as well as the Eighth Circuit’s recent decision in Jackson. See Government Br. 11-12.
Jackson held § 922(g)(1) constitutional as applied to an individual whose disqualifying offenses
were state-law felonies for selling controlled substances. There, as here, the challenger argued that
his offenses were “‘non-violent’ and do not show that he is more dangerous than the typical law-
abiding citizen.” Op. 8.

        Jackson held “that there is no need for felony-by-felony litigation regarding the
constitutionality of § 922(g)(1).” Op. 8; see Government Br. 24-25. Bruen “did not disturb” the
Supreme Court’s prior “assurances” that its Second Amendment precedents do not cast doubt on
felon-dispossession laws. Id. And Jackson reasoned that “there is considerable support in the
historical record” demonstrating that § 922(g)(1) fits comfortably within legislatures’ historical
authority “to prohibit possession of firearms by persons who have demonstrated disrespect for
legal norms of society.” Op. 12; see also id. 10-11; see generally Government Br. 17-23. Moreover,
Jackson reasoned that even if the relevant historical principle is that legislatures may enact firearm
legislation to “address a risk of dangerousness, then the prohibition on possession by convicted
felons still passes muster” because relevant historical firearm regulations included “no requirement
for an individualized determination of dangerousness as to each person in a class of prohibited
persons.” Op. 12; see Government Br. 31-32.
            Case 22-1108, Document 133, 06/08/2023, 3527007, Page2 of 2

                                                                                  Page 2


       Thank you for your consideration.

                                                 Respectfully submitted,

                                                 DAMIAN WILLIAMS
                                                 United States Attorney

                                           By:    /s/ Lucas Issacharoff
                                                 LUCAS ISSACHAROFF
                                                 BENJAMIN H. TORRANCE
                                                 Assistant United States Attorneys
                                                 86 Chambers Street, 3rd Floor
                                                 New York, New York 10007
                                                 Tel.: (212) 637-2737/2703
                                                 E-mail: lucas.issacharoff@usdoj.gov
                                                          benjamin.torrance@usdoj.gov

cc: Counsel of record (via ECF)
